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                                     STATEMENT OF FACTS

       On Wednesday April 27, 2022, at approximately 6:25 hours, members of the VCIT unit
along with members of the DEA task force executed a D.C. Superior Court Search Warrant (2022
CSWSLD 001340), at 3117 Buena Vista Terrace SE Washington, D.C., Apt # 4.

        Sgt. Jacquez knocked on the front door while yelling police search warrant. After the
occupants refused to answer, members of law enforcement were able to gain entry by use of a
battering ram. Upon entry into the location, law enforcement located Defendant Christopher Varner
and Female #1 inside of Bedroom #1. While placing both individuals in handcuffs, Detective Delpo
observed in plain sight a napkin, next to the bed, containing approximately 53 grams of a white rock
like substance. The substance field-tested positive for cocaine.

        A further search of the location resulted in the discovery of the listed items:

       Living room area:

           •   A plastic bag containing 276 grams of a white powdery substance (substance was not
               field tested due to suspected fentanyl – the substance is being submitted for
               laboratory analysis);

           •   A plastic baggie with 9.2 grams of a powdery substance (substance was not field
               tested due to suspected fentanyl – the substance is being submitted for laboratory
               analysis);

           •   A small plastic bag with 5.8 grams of a powdery substance (substance was not field
               tested due to suspected fentanyl – the substance is being submitted for laboratory
               analysis) 1;

           •   A Smith and Wesson 9 mm serial # RBA1953 semiautomatic pistol inside of a back
               pack. The firearm was loaded with 10 9mm rounds of ammo. Also located in the back
               pack was a loose round of ammo and an additional magazine; and

           •   Numerous digital scales were located on the table in the living room a set of keys that
               open the door to Apt. 4 of 3117 Buena Vista. 2

        In your affiant’s experience, the amount of narcotics recovered in Bedroom #1, as well as the
drug distribution materials were more consistent with distribution than that of personal use.



1
  The substances from the living room that are suspected of containing fentanyl are not currently
the basis of charges as we await further information regarding the substances.
2
  A search was also conducted of Bedroom #2. Law enforcement recovered a revolver handgun,
digital scales, mail matter in the name of Male #2; and numerous cell phones. Male #2 was not present
at the time that the search warrant was executed. Male #2 is currently on release pending
sentencing in District Court narcotics case.
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        The apartment had numerous clothes and shoes belonging to Defendant Varner, who
appeared to have been asleep in Bedroom #1 at the time police made their announcement. In a
search incident to arrest, law enforcement recovered $2,239.00 in U.S. Currency from Defendant
Varner’s pants pocket.

        Following Defendant Varner’s arrest, he made statements to law enforcement that Female #1
had no involvement with the items recovered from the apartment.



                                              _________________________________
                                              DETECTIVE CHRISTOPHER SMITH
                                              Detective Grade 2, Violent Crime Suppression
                                              Division - DEA Task Force
                                              Investigative Services Branch
                                              Badge D2-1650
                                              Metropolitan Police Department

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 28th day of April 2022.
                                                      G. Michael        Digitally signed by G. Michael
                                                                        Harvey

                                                      Harvey            Date: 2022.04.28 11:39:01
                                                      ___________________________________
                                                                        -04'00'

                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE
